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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 UNITED STATES OF AMERICA                           §
                                                    §
                                                    §
 v.                                                 §            CASE NO. 4:02CR88
                                                    §
                                                    §
 CURTIS DEWIGHT NELSON                              §


                MEMORANDUM ADOPTING REPORT AND
        RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the above-referenced criminal action, this court having heretofore

 referred the request for revocation of Defendant’s supervised release to the United States Magistrate

 Judge for proper consideration. The court has received the report of the United States Magistrate

 Judge pursuant to its order.

        Since the issuance of the report of the United States Magistrate Judge, Defendant has waived

 his right to file written objections to the report and his right to allocute before this court. See Dkt.

 549. Defendant having waived allocution before this court as well as his right to object to the report

 of the Magistrate Judge, the court is of the opinion that the findings and conclusions of the

 Magistrate Judge are correct.

        The court hereby adopts the findings and conclusions of the Magistrate Judge as the findings

 and conclusions of the court. It is therefore ORDERED that Defendant’s supervised release is

 hereby REVOKED. It is further ORDERED that Defendant be committed to the custody of the




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 Bureau of Prisons to be imprisoned for a term of eleven (11) months, with no supervised release to

 follow.

           The court further recommends that Defendant serve his term of imprisonment at the

 Bureau of Prisons institution located in Seagoville, Texas, if appropriate and available.

           IT IS SO ORDERED.

               .   SIGNED this the 14th day of July, 2009.




                                                           _______________________________
                                                           RICHARD A. SCHELL
                                                           UNITED STATES DISTRICT JUDGE




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